                                                               Mar 22, 2022

                                                             s/ DarylOlszewski




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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Luke Barker, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent of the U.S. Department of Justice’s Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF), currently assigned to the Milwaukee Field Office. I

have been so employed since November 2015. My duties as a Special Agent with the ATF

include investigating alleged violations of the federal firearms, explosives, and arson statutes.

       2.      I have completed approximately 26 weeks of training at the Federal Law

Enforcement Training Center in Glynco, Georgia. I have also completed training at the ATF

National Academy. That training included various legal courses related to constitutional law,

search and seizure authority, and specific training on explosives and arson investigations.

Additionally, I have received training on how to conduct various tasks associated with criminal

investigations, such as interviewing, surveillance, and evidence collection. As a Special Agent

with the ATF, I have responded to numerous fire scenes and been involved in multiple arson

investigations. I have also received additional fire investigation training, including training at the

Wisconsin International Association of Arson Investigators’ 2019 annual conference. Before

joining the ATF, I served for nearly eight years as a police officer with the Aurora Police

Department in Aurora, Colorado.

       3.      Through my experience and training as a firearm and arson investigator, I am

aware that electronic devices, such as cellphones, are used to store and save audio, video, and

text files that can link to a variety of criminal activity. These electronic devices often contain

evidence about the custody and control of those devices, along with location information about




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the device’s whereabouts at the time of the crime. During the course of my investigations, I have

regularly used electronic evidence relating to the commission of criminal offenses, including

intent, motive, manner, means, and the identity of co-conspirators.

       4.      I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, in that I am empowered by law to

conduct investigations of and to make arrests for federal offenses.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is also

based upon information gathered from interviews of citizen witnesses, reports, official records,

law enforcement reports, and information provided to me by other federal, state, and local law

enforcement officers.

       6.      This affidavit is intended to show simply that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                PURPOSE OF THIS AFFIDAVIT

       7.      I make this affidavit in support of an application for a warrant to search

information that is stored at premises controlled by Google, an electronic communication service

and remote computing service provider headquartered in Mountain View, California. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a warrant under 18 U.S.C. § 2703(c)(1)(A) to

require Google to disclose to the government the information further described in Attachment

B.I. The government will then review that information and seize the information that is further

described in Attachment B.II.




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        8.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 18, United State Code, Section 844(i),

arson of a commercial property were committed. There is also probable cause to search the

information described in Attachment A for evidence of these crimes, as described in Attachment

B.

        9.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

        BACKGROUND RELATING TO GOOGLE AND RELEVANT TECHNOLOGY

        10.     Based on my training and experience, I know that cellular devices, such as mobile

telephone(s), are wireless devices that enable their users to send or receive wire and/or electronic

communications using the networks provided by cellular service providers.               Using cellular

networks, users of many cellular devices can send and receive communications over the Internet.

        11.     I also know that many devices, including but not limited to cellular devices, have

the ability to connect to wireless Internet (“wi-fi”) access points if the user enables wi-fi

connectivity. These devices can, in such cases, enable their users to send or receive wire and/or

electronic communications via the wi-fi network. A tablet such as an iPad is an example of a

device that may not have cellular service but that could connect to the Internet via wi-fi. Wi-fi

access points, such as those created through the use of a router and offered in places like homes,

hotels, airports, and coffee shops, are identified by a service set identifier (“SSID”) that functions

as the name of the wi-fi network. In general, devices with wi-fi capability routinely scan their




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environment to determine what wi-fi access points are within range and will display the names of

networks within range under the device’s wi-fi settings.

       12.     Based on my training and experience, I also know that many devices, including

many cellular and mobile devices, feature Bluetooth functionality. Bluetooth allows for short-

range wireless connections between devices, such as between a device such as a cellular phone or

tablet and Bluetooth-enabled headphones. Bluetooth uses radio waves to allow the devices to

exchange information. When Bluetooth is enabled, a device routinely scans its environment to

identify Bluetooth devices, which emit beacons that can be detected by devices within the

Bluetooth device’s transmission range, to which it might connect.

       13.     Based on my training and experience, I also know that many cellular devices, such

as mobile telephones, include global positioning system (“GPS”) technology.              Using this

technology, the device can determine its precise geographical coordinates. If permitted by the

user, this information is often used by apps installed on a device as part of the apps’ operation.

       14.     Based on my training and experience, I know Google is a company that, among

other things, offers an operating system (“OS”) for mobile devices, including cellular phones,

known as Android. Nearly every device using the Android operating system has an associated

Google account, and users are prompted to add a Google account when they first turn on a new

Android device.

       15.     In addition, based on my training and experience, I know that Google offers

numerous apps and online-based services, including messaging and calling (e.g., Gmail, Hangouts,

Duo, Voice), navigation (Maps), search engine (Google Search), and file creation, storage, and

sharing (e.g., Drive, Keep, Photos, and YouTube). Many of these services are accessible only to

users who have signed in to their Google accounts. An individual can obtain a Google account by




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registering with Google, and the account identifier typically is in the form of a Gmail address (e.g.,

example@gmail.com). Other services, such as Maps and YouTube, can be used with limited

functionality without the user being signed in to a Google account.

       16.     Based on my training and experience, I also know Google offers an Internet

browser known as Chrome that can be used on both computers and mobile devices. A user has

the ability to sign-in to a Google account while using Chrome, which allows the user’s bookmarks,

browsing history, and other settings to be uploaded to Google and then synced across the various

devices on which the subscriber may use the Chrome browsing software, although Chrome can

also be used without signing into a Google account. Chrome is not limited to mobile devices

running the Android operating system and can also be installed and used on Apple devices and

Windows computers, among others.

       17.     Based on my training and experience, I know that, in the context of mobile devices,

Google’s cloud-based services can be accessed either via the device’s Internet browser or via apps

offered by Google that have been downloaded onto the device. Google apps exist for, and can be

downloaded to, devices that do not run the Android operating system, such as Apple devices.

       18.     According to my training and experience, as well as open-source materials

published by Google, I know that Google offers accountholders a service called “Location

History,” which authorizes Google, when certain prerequisites are satisfied, to collect and retain a

record of the locations where Google calculated a device to be based on information transmitted

to Google by the device. That Location History is stored on Google servers, and it is associated

with the Google account that is associated with the device. Each accountholder may view their

Location History and may delete all or part of it at any time.




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       19.     Based on my training and experience, I know that the location information collected

by Google and stored within an account’s Location History is derived from sources including GPS

data and information about the wi-fi access points and Bluetooth beacons within range of the

device. Google uses this information to calculate the device’s estimated latitude and longitude,

which varies in its accuracy depending on the source of the data. Google records the margin of

error for its calculation as to the location of a device as a meter radius, referred to by Google as a

“maps display radius,” for each latitude and longitude point.

       20.     Based on open-source materials published by Google and my training and

experience, I know that Location History is not turned on by default. A Google accountholder

must opt-in to Location History and must enable location reporting with respect to each specific

device and application on which they use their Google account in order for that usage to be

recorded in Location History. A Google accountholder can also prevent additional Location

History records from being created at any time by turning off the Location History setting for their

Google account or by disabling location reporting for a particular device or Google application.

When Location History is enabled, however, Google collects and retains location data for each

device with Location Services enabled, associates it with the relevant Google account, and then

uses this information for various purposes, including to tailor search results based on the user’s

location, to determine the user’s location when Google Maps is used, and to provide location-

based advertising. As noted above, the Google accountholder also has the ability to view and, if

desired, delete some or all Location History entries at any time by logging into their Google

account or by enabling auto-deletion of their Location History records older than a set number of

months.




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        21.     Location data, such as the location data in the possession of Google in the form of

its users’ Location Histories, can assist in a criminal investigation in various ways. As relevant

here, I know based on my training and experience that Google has the ability to determine, based

on location data collected and retained via the use of Google products as described above, devices

that were likely in a particular geographic area during a particular time frame and to determine

which Google account(s) those devices are associated with. Among other things, this information

can indicate that a Google accountholder was near a given location at a time relevant to the criminal

investigation by showing that his/her device reported being there.

        22.     Based on my training and experience, I know that when individuals register with

Google for an account, Google asks subscribers to provide certain personal identifying

information. Such information can include the subscriber’s full name, physical address, telephone

numbers and other identifiers, alternative email addresses, and, for paying subscribers, means and

source of payment (including any credit or bank account number). In my training and experience,

such information may constitute evidence of the crimes under investigation because the

information can be used to identify the account’s user or users. Based on my training and my

experience, I know that even if subscribers insert false information to conceal their identity, this

information often provide clues to their identity, location, or illicit activities.

        23.     Based on my training and experience, I also know that Google typically retains and

can provide certain transactional information about the creation and use of each account on its

system. This information can include the date on which the account was created, the length of

service, records of login (i.e., session) times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or closed), the methods used to connect

to the account (such as logging into the account via the provider’s website), and other log files that




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reflect usage of the account. In addition, Google often has records of the Internet Protocol address

(“IP address”) used to register the account and the IP addresses associated with particular logins

to the account. Because every device that connects to the Internet must use an IP address, IP

address information can help to identify which computers or other devices were used to access the

account.

                                      PROBABLE CAUSE

                                      May 18, 2021, Fire

       24.     On May 18, 2021, at approximately 5:22 a.m., the Milwaukee Fire Department

(MFD) and Milwaukee Police Department (MPD) were dispatched to 2626 N. 37th Street,

Milwaukee, Wisconsin, on a report of a fire. Upon their arrival a fire was located and

ultimately extinguished. The majority of the damage sustained by the fire was on the exterior

of the southeast corner of the residence (see Figure 1). The residence is a two-story, multi-unit

rental property.




                                               Figure 1

       25.         MPD located and interviewed two tenants of the residence. The tenant of the

upper unit was identified as B.B., and the tenant of the lower unit was identified as S.H.




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       26.     In an interview with B.B., MPD learned that at approximately 5:20 a.m., one of

the windows in B.B.’s residence shattered. B.B. went to see what had happened and observed

a male, whom he identified as Christopher Gilmore, running away from the residence

northbound through the alley. Gilmore was later identified as Christopher Gilmore (DOB:

xx/xx/1983). B.B. informed MPD that shortly after this, he smelled something burning and

discovered the back of the property was on fire.

       27.     An MPD detective was assigned to investigate the fire. After examining the

scene of the fire and conducting interviews of witnesses, the detective classified the fire as

incendiary.

       28.     On June 14, 2021, ATF Special Agents interviewed B.B. B.B. said in May of

2021, he met a male named A.L. through an on-line dating app. During their first few

conversations, A.L. informed B.B. that he recently broke up with another male named

Christopher Gilmore.

       29.     B.B. informed ATF agents that a few days after meeting A.L., B.B. was

contacted by Gilmore via phone. B.B. said Gilmore had used a phone that belonged to A.L.

B.B. said Gilmore appeared to be angry with B.B. for speaking with A.L. and threatened to

“set his house on fire.” B.B. added that the next day, May 16, 2021, Gilmore made contact

with B.B. in person outside of B.B.’s residence. B.B. said Gilmore identified himself as the

person who had contacted him the day before. ATF agents showed a drivers’ license

photograph of Gilmore to B.B. B.B. identified the person as Gilmore.

       30.     B.B. informed ATF agents that at approximately 5:00 a.m. on May 18, 2021,

he was asleep in his bedroom when he was woken by the sound of a window breaking. B.B.

said he looked out of the window and observed a male running northbound towards the alley.




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B.B. said the male was tall with a slim build, wearing black pants and a black hoodie. B.B.

said the body type matched that of Gilmore. B.B. stated a few minutes later he was in his

kitchen and smelled something burning and then discovered the fire to the east side of the

residence.

                                      June 1, 2021, Fire

         31.   On June 1, 2021, at approximately 4:34 a.m., members of the MPD were

dispatched to 3826 W. Meinecke Avenue, Milwaukee, Wisconsin, on a call of a vehicle fire.

The target vehicle was a red in color 2003 Buick Lesabre. The vehicle sustained major fire

damage (see Figure 2).




                                                Figure 2

         32.   MPD identified the registered owner of the Buick to be T.W. MPD discovered

T.W. was in a romantic relationship with A.L. A.L. was previously in a relationship with

Gilmore.

         33.   MPD discovered an exterior video surveillance camera located at 3823 W.

Meinecke Ave. MPD reviewed the surveillance footage and observed a person approach the

Buick from the east, light an object on fire and throw the object into the passenger side of the

Buick.




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       34.     An MPD detective was assigned to investigate the fire. After examining the

scene of the fire, conducting interviews of witnesses and observing the available video

surveillance, the detective classified the fire as incendiary.

                                    September 23, 2021, Fire

       35.     On September 23, 2021, at approximately 10:37 p.m., MPD was dispatched to

an additional fire at 3826 W. Meinecke Avenue, Milwaukee, Wisconsin. MPD personnel met

with members of MFD who had already extinguished a fire that was on the porch on the east

side of the residence. 3826 W. Meinecke Ave is a two story, multi-unit rental property.

       36.     An MPD detective was assigned to investigate the fire. After examining the

scene of the fire and conducting interviews of witnesses, the detective classified the fire as

incendiary.

       37.     On September 24, 2021, the MPD detective conducted follow up and attempted

to contact Gilmore at 3821 W. Walnut Street. This address is the residence of Gilmore’s

sister, C.G. The detective was unable to make contact with Gilmore at that address but did ask

C.G. for Gilmore’s phone number. C.G. informed the detective that Gilmore’s phone number

was 414-386-3343. The detective than observed C.G. dial the number she provided for

Gilmore in an attempt to contact him.

       38.     On October 5, 2021, ATF agents conducted an interview with T.W., one of the

tenants in the lower unit of 3826 W. Meinecke Avenue. T.W. stated that on the night of

September 23, 2021, he and his roommate A.L., were inside the residence at 3826 W.

Meinecke. T.W. stated he observed a flash of light coming from outside of his bedroom

window. He stated he looked outside of the window and observed Gilmore lighting a small

amount of garbage outside of the bedroom window (see Figure 3).




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                                               Figure 3

       39.     T.W. informed ATF agents he exited the residence to confront Gilmore. Upon

exiting the residence, he observed Gilmore running eastbound away from the residence. T.W.

also stated he observed his porch was on fire when he exited his residence.

       40.     On October 6, 2021, ATF agents conducted an interview with A.L., a

roommate of T.W. and one of the tenants in the lower unit of 3826 W. Meinecke Avenue.

A.L. informed ATF agents he and T.W. were in a bedroom in their residence on the night of

the fire. A.L. stated T.W. observed a flash of light coming from outside the bedroom window.

A.L. stated both he and T.W. looked outside the window, and both saw Gilmore attempting to

light a fire. A.L. stated he and T.W. exited the residence. A.L. stated T.W. exited the residence

before him and observed Gilmore running away. However, A.L. stated by the time he exited

the residence he did not do so in time to see Gilmore. A.L. stated he observed the porch was

on fire when he exited the residence. The fire damaged the northern section of the porch (see

Figure 4).




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                                                Figure 4

       41.      During the interview, A.L. provided ATF agents a phone number for Gilmore.

The phone number he provided was 414-386-3343.

       42.      Since the interview with A.L., A.L. has contacted your affiant and stated that

he is recanting his earlier statement that he saw Gilmore lighting a fire at 3826 W. Meinecke

Avenue on September 23, 2021.

       43.      According to a law enforcement database, phone number 414-386-3343 was a

customer of phone service provider TextNow, Inc.

       44.      On or about November 15, 2021, ATF agents served a federal grand jury

subpoena on TextNow, Inc. for subscriber information pertaining to accounts associated with

TextNow number 414-386-3343.

       45.      On or about November 15, 2021, TextNow, Inc. responded to the ATF agent

with the requested records and confirmed the following as one of the TextNow usernames:

ijiahgilmore.

       46.      TextNow also included the phone ownership dates, or the date range the

number was used by the associated username. Username ijiahgilmore owned TextNow phone



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number 414-386-3343 for the dates of June 10, 2021, to September 23, 2021. September 23,

2021, was the date of the third fire.

       47.     In November 2021, ATF agents were contacted by T.W. T.W. informed ATF

agents of threatening messages A.L. received from phone number 414-895-7397. T.W. stated

the phone number 414-895-7397 belonged to Gilmore.

       48.     According to a law enforcement database, phone number 414-895-7397 was a

customer of phone service provider TextNow, Inc.

       49.     On or about January 19, 2022, ATF agents served a second federal grand jury

subpoena on TextNow, Inc. for subscriber information pertaining to accounts associated with

TextNow number 414-895-7397.

       50.     On January 20, 2022, TextNow, Inc. responded to ATF with the requested

records, and confirmed the following as one of the TextNow usernames: ijiahgilmore. In

addition to the matching username, the name “Ijiah Gilmore” and email address

keykeytoles@gmail.com matched that of the username associated with TextNow number 414-

386-3343.

       51.     The phone ownership dates for username ijiahgilmore associated with

TextNow phone number 414-895-7397 were from May 19, 2021, (the day after the first fire)

to June 10, 2021. The day username ijiahgilmore ended its ownership of TextNow phone

number 414-895-7397 was the same day username ijiahgilmore began its ownership of

TextNow phone number 414-386-3343.

       52.     ATF agents used a law enforcement database to attempt to locate a possible

email address used by Gilmore. ATF agents were able to locate the following email address

associated with Gilmore: ijiahgilmoresafforld1982@gmail.com.




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       53.     Based on my training and experience, as well as information conveyed to me

by other law enforcement officers, which information I find to be reliable and credible, I know

that it is common for individuals who commit arsons to carry mobile devices at the time of the

commission of the crime. Based upon my training and experience, I also know that it is

common for information obtained from mobile devices, to include location data, to assist in

investigating criminal offenses, to include arsons. Therefore, I believe that there is a high

likelihood that that the individual(s) who committed the criminal activity described in the

preceding paragraphs carried a mobile device.

       54.     Based on the aforementioned facts documenting the violations of Title 18, United

State Code, Section 844(i), I submit that there is probable cause to search information that is

currently in the possession of Google and that relates to the devices that reported being within the

Target Locations described in Attachment A during the time period described in Attachment A for

evidence of the crimes under investigation. The information to be searched includes (1) identifiers

of each device; (2) the location(s) reported by each device to Google and the associated timestamp;

and (3) basic subscriber information for the Google account(s) associated with each device.

       55.     The proposed warrant sets forth a multi-step process whereby the government will

obtain the information described above. Specifically, as described in Attachment B.I:

               a.      Using Location History data, Google will identify those devices that it

                       calculated were or could have been (based on the associated margin of error

                       for the estimated latitude/longitude point) within the Target Location

                       described in Attachment A during the time period described in Attachment

                       A. For each device, Google will provide a anonymized identifier, known

                       as a Reverse Location Obfuscation Identifier (“RLOI”), that Google creates




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                      and assigns to device for purposes of responding to this search warrant;

                      Google will also provide each device’s location coordinates along with the

                      associated timestamp(s), margin(s) of error for the coordinates (i.e,. “maps

                      display radius”), and source(s) from which the location data was derived

                      (e.g., GPS, wi-fi, bluetooth), if available. Google will not, in this step,

                      provide the Google account identifiers (e.g., example@gmail.com)

                      associated with the devices or basic subscriber information for those

                      accounts to the government.

               b.     The government will identify to Google the devices appearing on the list

                      produced in step 1 for which it seeks the Google account identifier and basic

                      subscriber information. The government may, at its discretion, identify a

                      subset of the devices.

               c.     Google will then disclose to the government the Google account identifier

                      associated with the devices identified by the government, along with basic

                      subscriber information for those accounts.

       56.     This process furthers efficiency and privacy by allowing for the possibility that the

government, upon reviewing contextual information for all devices identified by Google, may be

able to determine that one or more devices associated with a Google account (and the associated

basic subscriber information) are likely to be of heightened evidentiary value and warrant further

investigation before the records of other accounts in use in the area are disclosed to the

government.




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                                           CONCLUSION

       57.     Based on the foregoing, I request that the Court issue the proposed warrant,

pursuant to 18 U.S.C. § 2703(c).

       58.     I further request that the Court direct Google to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on Google, who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the requested

warrant at any time in the day or night.




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                               ATTACHMENT A

                            Property To Be Searched

This warrant is directed to Google LLC and applies to:

(1) Location History data, sourced from information including GPS data and information

    about visible wi-fi points and Bluetooth beacons transmitted from devices to Google,

    reflecting devices that Google calculated were or could have been (as indicated by

    margin of error, i.e., “maps display radius”) located within the geographical region

    bounded by the latitudinal and longitudinal coordinates, dates, and times below

    (“Initial Search Parameters”); and

(2) Identifying information for Google Accounts associated with the responsive Location

History data.

                     LOCATION 1 - Initial Search Parameters

x       Date: May 18, 2021
x       Time Period: 05:15 AM to 05:25 AM (CST)
x       Target Location: Geographical area identified as:
        (NW Corner) 43.066725, - 87.959667; (NE Corner) 43.066731, - 87.959264;
        (SE Corner) 43.066639, - 87.959539; (SW Corner) 43.066653, - 87.959661;
x       Also approximately depicted using the following image:




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               LOCATION 2 - Initial Search Parameters

x   Date: June 1, 2021
x   Time Period: 04:15 AM to 04:20 AM (CST)
x   Target Location: Geographical area identified as:
    (NW Corner) 43.062608, -87.962114; (NE Corner) 43.062606, -87.961553;
    (SE Corner) 43.0625, -87.961556; (SW Corner) 43.0625, -87.962108;
    Also approximately depicted using the following image:




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               LOCATION 3 - Initial Search Parameters

x   Date: September 23, 2021
x   Time Period: 10:10 PM to 10:25 PM (CST)
x   Target Location: Geographical area identified as:
    (NW Corner) 43.062608, -87.962114; (NE Corner) 43.062606, -87.961553;
    (SE Corner) 43.0625, -87.961556; (SW Corner) 43.0625, -87.962108;
    Also approximately depicted using the following image:




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                                         ATTACHMENT B

                                   Particular Items to Be Seized

   I.         Information to be disclosed by Google

         The information described in Attachment A, via the following process:

         1.      Google shall query location history data based on the Initial Search Parameters

specified in Attachment A. For each location point recorded within the Initial Search

Parameters, and for each location point recorded outside the Initial Search Parameters where the

margin of error (i.e., “maps display radius”) would permit the device to be located within the

Initial Search Parameters, Google shall produce to the government information specifying the

corresponding unique device ID, timestamp, location coordinates, display radius, and data

source, if available (the “Device List”).

         2.      The government shall review the Device List and identify to Google the devices

about which it seeks to obtain Google account identifier and basic subscriber information. The

government may, at its discretion, identify a subset of the devices.

         3.      Google shall disclose to the government identifying information, as defined in 18

U.S.C. § 2703(c)(2), for the Google Accounts associated with each device ID appearing on the

Device List about which the government inquires.

   II.        Information to Be Seized

   All information described above in Section I that constitutes evidence of violations of 18

U.S.C. § 841(i), (arson of a commercial property) involving Christopher Gilmore.




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